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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §         Case No. 21-CR-00022-KBJ
                                            §
                                            §
CHRISTOPHER RAY GRIDER,                     §
                                            §
        Defendant                           §

                          DEFENDANT’S MOTION TO
                       MODIFY CONDITIONS OF RELEASE

TO THE HONORABLE KETANJI BROWN JACKSON, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

        COMES NOW CHRISTOPHER RAY GRIDER, the Defendant in the above

styled and numbered cause, by and through undersigned counsel, and moves this

Court to modify his conditions of release, specifically, to remove the condition requir-

ing location monitoring with a GPS ankle monitor. Although Mr. Grider’s supervision

officer in the Western District of Texas is recommending that condition be removed,

the Government is opposing this motion. In support thereof, he would show the fol-

lowing.

1. This Court released Mr. Grider on conditions of release on February 22, 2021.

     (Doc. Nos. 14 & 15). Among other conditions, this Court ordered Mr. Grider to

     participate in a location restriction/monitoring program with a GPS leg monitor

     and a curfew of 10:00 pm to 6:00 am. (Doc. No. 14). Since his release, he has been

     supervised by Kit Myers, Senior U.S. Pretrial Services Officer and Intensive Su-

     pervision Specialist for the Western District of Texas, Waco Division.


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2. Ms. Myers conferred with undersigned counsel and affirmed that Mr. Grider has

   been compliant with all conditions of his release with no issues since his release.

   She further requested that the condition requiring location restriction/monitoring

   program with a GPS leg monitor and a curfew of 10:00 pm to 6:00 am be removed

   and conveyed that desire to the Pretrial Services office for this District.

3. With Mr. Grider’s children about to go on their summer break from school, Mr.

   Grider wishes to have more flexibility in being able to take his children on trips

   away from his residence within his permitted districts of travel (Western and

   Southern Districts of Texas). Given his compliance with his conditions of release

   and favorable recommendation from his supervising officer, he is requesting that

   this Court remove the condition requiring location restriction/monitoring program

   with a GPS leg monitor and a curfew of 10:00 pm to 6:00 am

4. Undersigned counsel has conferred with counsel for the Government and con-

   firmed that the Government is opposed to this motion.

      WHEREFORE, PREMISES CONSIDERED, Mr. Grider respectfully requests

this Honorable Court modify his conditions of release to remove the condition requir-

ing location restriction/monitoring program with a GPS leg monitor and a curfew of

10:00 pm to 6:00 am.

Date: May 4, 2021                       Respectfully Submitted,

                                        MAYR LAW, P.C.

                                        by: /s/ T. Brent Mayr
                                        T. BRENT MAYR
                                        Texas State Bar Number 24037052
                                        D.C.D.C. Bar ID TX0206


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                                         ATTORNEY FOR THE DEFENDANT,
                                         CHRISTOPHER RAY GRIDER



                        CERTIFICATE OF CONFERENCE

      I certify that I conferred with Counsel for the Government, Candice Wong, on

May 4, 2021, and she affirmed that she is opposed to this motion. I further certify

that I conferred with Mr. Grider’s pretrial supervision officer and her position is true

and correct as set out in this motion.

                                         /s/ T. Brent Mayr
                                         T. BRENT MAYR



                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Candice Wong, on May 4, 2021, via CM/ECF and email.

                                         /s/ T. Brent Mayr
                                         T. BRENT MAYR




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